CaSe 8-15-70212-|&8 DOC 18 Filed 04/10/18 Entered 04/10/18 23235:14

ALLAN B. MENDELsoHN, up
Attorneys at Law
38 NEW STREET, HUNT|NGTON, NY11743
TELEPHONE (631) 923-1625 FACS|M|LE (631) 423-4536

ALLAN B. MENDELSoHN
MrcHAELJ. o'suLuvAN

OF COUNSEL
United States Bankruptcy Court April 9, 2018
Clerk of the Court
290 Federal Plaza

Central Islip, NY 11722

Re: Jacqueline M. Degroff
Case No. 815-70212-LAS
Chapter 7

Dear Sir/Madam,

h Please let this serve to respond to your request for a status report for the administration of
t is estate.

The Debtor’s petition was filed on January 20, 2015 and the Trustee completed his
examination of the Debtor at the Meeting of Creditors conducted on December 7, 2016.

In this case, the Trustee has thus far retained counsel to assist him in prosecuting a personal
injury claim in the New York State Supreme Court for Suffolk County. No offers to settle that
action have been received to date and preparations for trial of the issues raised therein are
continuing. .

Establishment of a claims bar date was requested and June l, 2015 was set as the date by
which claims had to be filed. Subsequent to passage of the claims bar date, a claims review was
conducted. The estate is unable, however, to prepare a final report until a resolution is achieved -
Whether by settlement or trial - in the state court.

I hope this information is satisfactory

Sincerel

Allan B. dels

